Case 1:17-cv-00382-MAC Document 12 Filed 12/13/17 Page 1 of 1 PageID #: 240




UNITED STATES DISTRICT COURT                        EASTERN DISTRICT OF TEXAS


DAVID FISHER,                 §
                              §
          Plaintiff,          §
                              §
versus                        §                      CIVIL ACTION NO. 1:17-CV-382
                              §
PRIMERICA LIFE INSURANCE      §
COMPANY and ANTHONY WOODRUFF, §
                              §
          Defendants.         §

                         ORDER OF PARTIAL DISMISSAL

      In accordance with the court’s Memorandum and Order signed on December 13, 2017,

Defendant Anthony Woodruff is DISMISSED without prejudice. Plaintiff’s claims against

        . Primerica Life Insurance Company remain pending.
Defendant
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
       SIGNED at Beaumont, Texas, this 13th day of December, 2017.




                                      ________________________________________
                                                  MARCIA A. CRONE
                                           UNITED STATES DISTRICT JUDGE
